                             Case 24-11390-TMH                        Doc 1        Filed 06/19/24            Page 1 of 17

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

                                  Delaware
 ____________________ District of _________________
                                        (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                        Check if this is an
                                                                                                                                        amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtors name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtors name                               Fisker Inc.
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtors federal Employer
      Identification Number (EIN)
                                              8     2  ___
                                              ___ ___    3 ___
                                                            1 ___
                                                               0 ___0 ___3 ___4 ___
                                                                                 0


 4.   Debtors address                        Principal place of business                                  Mailing address, if different from principal place
                                                                                                           of business

                                                  14          Centerpointe Drive
                                              ______________________________________________               _______________________________________________
                                              Number     Street                                            Number     Street

                                              ______________________________________________               _______________________________________________
                                                                                                           P.O. Box

                                                  La Palma                     CA         90623
                                              ______________________________________________               _______________________________________________
                                              City                        State    ZIP Code                City                      State      ZIP Code


                                                                                                           Location of principal assets, if different from
                                                                                                           principal place of business
                                                  Orange
                                              ______________________________________________
                                              County                                                       _______________________________________________
                                                                                                           Number     Street

                                                                                                           _______________________________________________

                                                                                                           _______________________________________________
                                                                                                           City                      State      ZIP Code




 5.   Debtors website (URL)                      https://www.fiskerinc.com
                                              ____________________________________________________________________________________________________




Official Form 201                                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
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Debtor        Fisker Inc.
              _______________________________________________________                         Case number (if known)_____________________________________
              Name



                                             Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
 6.   Type of debtor
                                             Partnership (excluding LLP)
                                             Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtors business
                                             Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                             Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                             Railroad (as defined in 11 U.S.C. § 101(44))
                                             Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                             Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                             Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                             None of the above


                                          B. Check all that apply:

                                             Tax-exempt entity (as described in 26 U.S.C. § 501)
                                             Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                             Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              3 ___
                                             ___ 3 ___
                                                    6 ___
                                                       1

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                         Chapter 7
                                             Chapter 9
                                             Chapter 11. Check all that apply:
      A debtor who is a small business
      debtor must check the first sub-                       The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      small business debtor) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                              A plan is being filed with this petition.

                                                              Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                             Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
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Debtor         Fisker Inc.
               _______________________________________________________                      Case number (if known)_____________________________________
               Name



 9.   Were prior bankruptcy cases           No
      filed by or against the debtor
      within the last 8 years?              Yes. District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

 10. Are any bankruptcy cases                No
      pending or being filed by a                        See Schedule 1 attached
      business partner or an                Yes. Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________



 11. Why is the case filed in this       Check all that apply:
      district?
                                            Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.

                                            A bankruptcy case concerning debtors affiliate, general partner, or partnership is pending in this district.


 12. Does the debtor own or have            No
      possession of any real                Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard? _____________________________________________________________________

                                                      It needs to be physically secured or protected from the weather.

                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                                      Other _______________________________________________________________________________



                                                  Where is the property?_____________________________________________________________________
                                                                            Number          Street

                                                                            ____________________________________________________________________

                                                                            _______________________________________         _______ ________________
                                                                            City                                            State ZIP Code


                                                  Is the property insured?

                                                      No
                                                      Yes. Insurance agency ____________________________________________________________________

                                                           Contact name     ____________________________________________________________________

                                                           Phone            ________________________________




              Statistical and administrative information




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
                             Case 24-11390-TMH                   Doc 1         Filed 06/19/24            Page 4 of 17

Debtor        Fisker Inc.
            _______________________________________________________                            Case number (if known)_____________________________________
            Name




 13. Debtors estimation of              Check one:
     available funds                        Funds will be available for distribution to unsecured creditors.
                                            After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                            1-49                                1,000-5,000                              25,001-50,000
 14. Estimated number of
                                            50-99                               5,001-10,000                             50,001-100,000
     creditors
                                            100-199                             10,001-25,000                            More than 100,000
                                            200-999

                                            $0-$50,000                          $1,000,001-$10 million                   $500,000,001-$1 billion
 15. Estimated assets
                                            $50,001-$100,000                    $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                            $100,001-$500,000                   $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                            $500,001-$1 million                 $100,000,001-$500 million                More than $50 billion


                                            $0-$50,000                          $1,000,001-$10 million                   $500,000,001-$1 billion
 16. Estimated liabilities
                                            $50,001-$100,000                    $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                            $100,001-$500,000                   $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                            $500,001-$1 million                 $100,000,001-$500 million                More than $50 billion



            Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                             petition.
     debtor
                                             I have been authorized to file this petition on behalf of the debtor.

                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                            Executed on _________________
                                                        MM / DD / YYYY


                                             _____________________________________________               John C. DiDonato
                                                                                                         _______________________________________________
                                            Signature of authorized representative of debtor             Printed name

                                                   Chief Restructuring Officer
                                            Title _________________________________________




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 4
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Debtor      Fisker Inc.
            _______________________________________________________                     Case number (if known)_____________________________________
            Name




 18. Signature of attorney
                                           /s/
                                          _____________________________________________            Date       _________________
                                          Signature of attorney for debtor                                    MM    / DD / YYYY



                                          Robert J. Dehney, Sr.
                                         _________________________________________________________________________________________________
                                         Printed name
                                          Morris, Nichols, Arsht & Tunnell LLP
                                         _________________________________________________________________________________________________
                                         Firm name
                                         1201 N. Market Street, 16th Floor
                                         _________________________________________________________________________________________________
                                         Number     Street
                                          Wilmington
                                         ____________________________________________________             DE
                                                                                                         ____________  19801
                                                                                                                      ______________________________
                                         City                                                            State        ZIP Code

                                          (302) 658-9200
                                         ____________________________________                             rdehney@morrisnichols.com
                                                                                                         __________________________________________
                                         Contact phone                                                   Email address



                                          3578
                                         ______________________________________________________  DE
                                                                                                ____________
                                         Bar number                                             State




 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 5
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                   IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF DELAWARE


In re:                                                     Chapter 11

FISKER INC., et al.,                                       Case No. 24-

               Debtors.                                    (Joint Administration to be Requested)



                                SCHEDULE 1 TO PETITION

        On the date hereof, each of the entities listed below, including the debtor in this chapter
11 case                     Debtors ), has filed or will file a petition for relief in the United
States Bankruptcy Court for the District of Delaware under chapter 11 of title 11 of the United
States Code. The Debtors will move for joint administration of their cases for procedural
purposes only under the case number assigned to the chapter 11 case of Fisker Inc.

                               Fisker Inc.
                               Fisker Group Inc.
                               Fisker TN LLC
                               Blue Current Holding LLC
                               Platinum IPR LLC
                               Terra Energy Inc.
                             Case 24-11390-TMH               Doc 1        Filed 06/19/24             Page 7 of 17
Official Form 201A (12/15)

        [If debtor is required to file periodic reports (e.g., forms 10K and 10Q) with the Securities and Exchange Commission
        pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting relief under chapter 11 of the
        Bankruptcy Code, this Exhibit A shall be completed and attached to the petition.]

                                                           [Caption as in Form 416B]


                             Attachment to Voluntary Petition for Non-Individuals Filing for
                                            Bankruptcy under Chapter 11

            1. If any of the debtor s securities are registered under Section 12 of the Securities Exchange Act of
                                         001-39160
        1934, the SEC file number is _______________.

            2. The following financial data is the latest available information and refers to the debtor s condition on
        ______________.
        March 31, 2024

              a. Total assets                                                            $ 604,000,000

              b. Total debts (including debts listed in 2.c., below)                    $ 1,200,000,000
              c. Debt securities held by more than 500 holders
                                                                                                                         Approximate
                                                                                                                         number of
                                                                                                                         holders:

              secured          unsecured        subordinated             $
              secured          unsecured        subordinated             $
              secured          unsecured        subordinated             $
              secured          unsecured        subordinated             $
              secured          unsecured        subordinated             $

              d. Number of shares of preferred stock
              e. Number of shares common stock Class A shares: 2,000,000,000 authorized;1,250,822,032 outstanding
                                                    Class B shares: 150,000,000 authorized; 132,354,128 outstanding
              Comments, if any:



              3. Brief description of debtor s business: Fisker designs, develops, markets, and sells electric vehicles.



            4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote,
        5% or more of the voting securities of debtor:
        Henrik Fisker; Dr. Geeta Gupta-Fisker.




        Official Form 201A            Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                        Case 24-11390-TMH                                   Doc 1            Filed 06/19/24                          Page 8 of 17


Fill in this information to identify the case:
Debtor name: Fisker Inc., et al.
United States Bankruptcy Court for the District of Delaware                                                                                                                                      Check if this is an
Case number (If known):                                                                                                                                                                          amended filing


Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                                                                                  12/15
A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or entity who is an
insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the
30 largest unsecured claims.
Name of creditor and complete                                 Name, telephone number, and                      Nature of the claim    Indicate if      Amount of unsecured claim
mailing address, including zip code                           email address of creditor                        (for example, trade   claim is         If the claim is fully unsecured, fill in only unsecured
                                                              contact                                          debts, bank loans,    contingent,      claim amount. If claim is partially secured, fill in
                                                                                                               professional          unliquidated,    total claim amount and deduction for value of
                                                                                                               services, and         or disputed      collateral or setoff to calculate unsecured claim.
                                                                                                               government
                                                                                                               contracts)
                                                                                                                                                       Total claim, if       Deduction for       Unsecured
                                                                                                                                                      partially             value of            claim
                                                                                                                                                      secured               collateral or
                                                                                                                                                                            setoff




1    US BANK                                                                                                   CONVERTIBLE                                                                       $     874,507,358.90
     633 WEST 5TH STREET, 24TH FLOOR                          PHONE: 213-615-6026                              NOTES
     LOS ANGELES, CA 90071                                    EMAIL: LACHERIE.WILLIAMS@USBANK.COM

2    SAP AMERICA INC.                                                                                          IT / SOFTWARE                                                                     $       2,379,320.72
     3999 WEST CHESTER PIKE                                   PHONE: 610-661-1000
     NEWTOWN SQUARE, PA 19073                                 EMAIL: FINANCEAR@SAP.COM

3    SALESFORCE.COM, INC                                                                                       IT / SOFTWARE                                                                     $       2,138,244.97
     415 MISSION STREET, 3RD FLOOR                            PHONE: 415-901-8457
     SAN FRANCISCO, CA 94105                                  EMAIL: WFERRIS@SALESFORCE.COM

4    GOOGLE LLC                                                                                                SALES &                                                                           $       1,957,377.42
     1600 AMPHITHEATRE PARKWAY                                PHONE: 650-253-0000                              MARKETING
     MOUNTAIN VIEW, CA 94043                                  EMAIL: COLLECTIONS@GOOGLE.COM

5    ADOBE                                                                                                     IT / SOFTWARE                                                                     $       1,883,865.87
     345 PARK AVE                                             PHONE: 408-536-2800
     SAN JOSE, CA 95510                                       EMAIL: VIP-DIRECT-AMER@ADOBE.COM

6    MARSH USA, INC.                                                                                           INSURANCE                                                                         $       1,411,403.39
     P.O. BOX 846112                                          PHONE: NOT AVAILABLE
     DALLAS, TX 75284                                         EMAIL:
                                                              FIDUCIARYSERVICEREQUEST.US@MARSH.COM
7    AVNET INC                                                                                                 MANUFACTURING /                                                                   $       1,340,303.99
     2211 S. 47TH STREET                                      PHONE: 810-626-8956                              PARTS
     PHOENIX, AZ 85034                                        EMAIL: JOEL.FISHMAN@AVNET.COM

8    MANPOWERGROUP US INC                                                                                      PROFESSIONAL                                                                      $       1,081,384.05
     100 MANPOWER PL                                          PHONE: 414-961-1000                              SERVICES
     MILWAUKEE, WI 53212                                      EMAIL: ANDREW.PULASKI@MANPOWER.COM

9    TESSOLVE DTS INC                                                                                          RESEARCH &                                                                        $         818,186.45
     3910 N. FIRST STREET                                     PHONE: 408-865-0873                              DEVELOPMENT
     SAN JOSE, CA 95134                                       EMAIL: SALES@TESSOLVE.COM

10   URGENT.LY INC.                                                                                            IT / SOFTWARE                                                                     $         755,116.70
     8609 WESTWOOD CENTER DRIVE, SUITE 8                      PHONE: NOT AVAILABLE
     VIENNA                                                   EMAIL: THUFFMYER@GETURGENTLY.COM
     VATICAN CITY, VA 22182


11   PRELUDE SYSTEMS INC                                                                                       IT / SOFTWARE                                                                     $         660,053.72
     5 CORPORATE PARK, SUITE 140                              PHONE: 949-208-7126
     IRVINE, CA 92606                                         EMAIL: PRADEEP_P@PRELUDESYS.COM

12   NBCUNIVERSAL LLC                                                                                          SALES &                                                                           $         649,999.97
     30 ROCKEFELLER PLAZA                                     PHONE: NOT AVAILABLE                             MARKETING
     NEW YORK, NY 10112                                       EMAIL: GAVIN.LAU@NBCUNI.COM

13   MICROSOFT CORPORATION                                    C/O BANK OF AMERICA                              IT / SOFTWARE                                                                     $         632,055.46
     C/O BANK OF AMERICA                                      PHONE: NOT AVAILABLE
     1950 N. STEMMON                                          EMAIL: MSCREDIT@MICROSOFT.COM
     DALLAS, TX 75207


14   STRATUS-X LLC, DBA XD INNOVATION AM                                                                       IT / SOFTWARE                                                                     $         616,000.00
     9800 MOUNT PYRAMID COURT, SUITE 400                      PHONE: NOT AVAILABLE
     ENGELWOOD, CO 80112                                      EMAIL: MCARRABINO@XDINNOVATION.COM

15   T-MOBILE USA, INC.                                                                                        TELECOM                                                                           $         594,565.76
     12920 SE 38TH ST                                         PHONE: NOT AVAILABLE
     BELLEVUE, WA 98006                                       EMAIL: PAUL.TISCH@T-MOBILE.COM

16   I.G. BAUERHIN GMBH                                                                                        MANUFACTURING /                                                                   $         593,345.93
     WIESENSTR. 29 HESSEN                                     PHONE: 49 6051 826-0                             PARTS
     GRUNDAU, 63584                                           EMAIL: ANDRZEJ.DYMEK@BAUERHIN.COM
     GERMANY
17   ALERE PROPERTY GROUP LLC DBA 14422                                                                        RENT                                                                              $         548,592.83
     ASTRONAUTICS APG LLC                                     PHONE: NOT AVAILABLE
     100 BAYVIEW CIRCLE STE #310                              EMAIL: KIRKBRIDE@UNIREGROUP.COM
     NEWPORT BEACH, CA 92660




Official Form 204                                               Chapter 11 Case: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                       Page 1
                                      Case 24-11390-TMH                   Doc 1      Filed 06/19/24                          Page 9 of 17


Name of creditor and complete               Name, telephone number, and                Nature of the claim    Indicate if      Amount of unsecured claim
mailing address, including zip code         email address of creditor                  (for example, trade   claim is         If the claim is fully unsecured, fill in only unsecured
                                            contact                                    debts, bank loans,    contingent,      claim amount. If claim is partially secured, fill in
                                                                                       professional          unliquidated,    total claim amount and deduction for value of
                                                                                       services, and         or disputed      collateral or setoff to calculate unsecured claim.
                                                                                       government
                                                                                       contracts)
                                                                                                                               Total claim, if       Deduction for       Unsecured
                                                                                                                              partially             value of            claim
                                                                                                                              secured               collateral or
                                                                                                                                                    setoff




18   VECTOR NORTH AMERICA INC.                                                         IT / SOFTWARE                                                                     $         529,288.35
     39500 ORCHARD HILL PLACE SUITE 400     PHONE: 248-449-9290
     NOVI, MI 48375                         EMAIL: SALES@US.VECTOR.COM

19   TOMTOM NORTH AMERICA, INC.                                                        MANUFACTURING /                                                                   $         520,634.88
     11 LAFAYETTE STREET                    PHONE: NOT AVAILABLE                       PARTS
     LEBANON, NH 03766                      EMAIL: ROYALTYDEPT@TOMTOM.COM

20   NYSE LISTINGS                                                                     PROFESSIONAL                                                                      $         500,000.00
     5660 NEW NORTHSIDE DRIVE, 3FLOOR, C    PHONE: NOT AVAILABLE                       SERVICES
     ATLANTA, GA 30328                      EMAIL: NAVEENGOUD.GEVAT@ICE.COM

21   TESSOLVE SEMICONDUCTOR PRIVATE LIMI                                               RESEARCH &                                                                        $         490,175.00
     PLOT#31 (P2), PHASE II, ELECTRONIC     PHONE: NOT AVAILABLE                       DEVELOPMENT
     BANGALORE, 10 (KARNATAKA) 560100       EMAIL: PONNI.CARLIN@TESSOLVE.COM
     INDIA
22   BROADRIDGE ICS BROADRIDGE INVESTOR                                                FREIGHT &                                                                         $         412,922.90
     COMMUNICATION                          PHONE: 800-353-0103                        DELIVERY
     P.O. BOX 416423                        EMAIL: INVOICES@BROADRIDGE.COM
     BOSTON, MA 02241-6423


23   MOURI TECH LLC                                                                    IT / SOFTWARE                                                                     $         400,561.10
     1183 W JOHN CARPENTER FWY              PHONE: 972-756-1500
     IRVING, TX 75039                       EMAIL: SIVAD@MOURITECH.COM

24   WESTFALIA AUTOMOTIVE GMBH                                                         MANUFACTURING /                                                                   $         383,219.84
     AM SANDBERG 45                         PHONE: 49-162-431-8380                     PARTS
     RHEDA-WIEDENBRUCK, 33378               EMAIL: MSTRYCH@HORIZONGLOBAL.COM
     GERMANY
25   FEDEX                                                                             FREIGHT &                                                                         $         368,328.37
     P.O. BOX 7221                          PHONE: 310-743-3501                        DELIVERY
     PASADENA, CA 91109-7321                EMAIL: VENDOR.EMAIL@FISKERINC.COM

26   CONTINENTAL DEVELOPMENT CORPORATION                                               RENT                                                                              $         360,642.97
     DBA CONTINENTAL ROSECRAN               PHONE: NOT AVAILABLE
     2041 ROSECRANS AVENUE, SUITE 200       EMAIL:
     EL SEGUNDO, CA 90245                   ACCOUNTSRECEIVABLE@CONTINENTALDEVELOP
                                            MENT.COM
27   AUTOMOTIVE MARKETING CONSULTANTS, I                                               SALES &                                                                           $         348,238.78
     1515 WEST 190TH STREET, SUITE 440      PHONE: NOT AVAILABLE                       MARKETING
     GARDENA, CA 90248                      EMAIL: KKILLIP@AMCIGLOBAL.COM

28   MAGNA STEYR FAHRZEUGTECHNIK GMBH &                                                MANUFACTURING /                                                                   $         332,969.92
     LIEBENAUER HAUPTSTRASSE 317            PHONE: NOT AVAILABLE                       PARTS
     GRAZ, 8041                             EMAIL: RENE.HIRCZI@MAGNA.COM
     AUSTRIA
29   FERRANTE KOBERLING CONSTRUCTION, IN                                               CAPEX &                                                                           $         326,861.04
     2360 EASTMAN AVE. #112                 PHONE: 323-804-6842                        MAINTENANCE
     OXNARD, CA 93030                       EMAIL: JOROPALLO@FERRANTEKOBERLING.COM

30   DELL USA L.P.                                                                     IT / SOFTWARE                                                                     $         316,757.86
     ONE DELL WAY                           PHONE: NOT AVAILABLE
     ROUND ROCK, TX 78682                   EMAIL: JESSICA.GRAY@DELL.COM




Official Form 204                             Chapter 11 Case: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                 Page 2
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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


In re:                                                          Chapter 11

FISKER INC., et al.,                                            Case No. 24-

                   Debtors.                                     (Joint Administration to be Requested)




                    CONSOLIDATED CORPORATE OWNERSHIP
               STATEMENT AND LIST OF EQUITY INTEREST HOLDERS

        Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy
                   Bankruptcy Rules
disqualification or recusal, attached hereto as Exhibit A is a corporate structure chart (the
 Corporate Structure Chart                                            Fisker Inc. and certain
of its affiliates (co                Debtors
possession in the above-                                        Chapter 11 Cases         The
Debtors respectfully represent, as of the date hereof, the following:

                1. Each of the Debtors1 identified on the Corporate Structure Chart, other than
                   Fisker Inc., is owned in its entirety by its direct parent.

                2. Fisker Inc. is the ultimate parent of each of the Debtors, and its equity
                   securities are publicly held as follows (as of April 8, 2024):

                    Class of Common
                                           Amount Authorized                Amount Outstanding
                          Stock
                             A                 2,000,000,000                     1,250,822,032

                             B                  150,000,000                       132,354,128

                3. There are no entities that own 10% or more of the issued and outstanding
                   common stock of Fisker Inc.




         1
             The address of the D   corporate headquarters is 14 Centerpointe Drive, La Palma, CA 90623.
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                      Exhibit A

              Corporate Structure Chart
                     davispolk.com
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 Fill in this information to identify the case and this filing:


              Fisker Inc.
 Debtor Name __________________________________________________________________
                                                                            Delaware
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individuals position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


              Schedule A/B: AssetsReal and Personal Property (Official Form 206A/B)

              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

              Schedule H: Codebtors (Official Form 206H)

              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

              Amended Schedule ____


              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

                                                         Consolidated Corporate Ownership Statement
              Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


        Executed on ______________                             /s/
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                John C. DiDonato
                                                                ________________________________________________________________________
                                                                Printed name

                                                                Chief Restructuring Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
